

People v Williams (2023 NY Slip Op 00184)





People v Williams


2023 NY Slip Op 00184


Decided on January 17, 2023


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: January 17, 2023

Before: Kapnick, J.P., Friedman, Kennedy, Mendez, Shulman, JJ. 


Ind. No. 1500/18 Appeal No. 17113 Case No. 2019-03507 

[*1]The People of the State of New York, Respondent,
vKeylester Williams, Defendant-Appellant.


Robert S. Dean, Center for Appellate Litigation, New York (Shaina R. Watrous of counsel), for appellant.
Darcel D. Clark, District Attorney, Bronx (Cynthia A. Carlson of counsel), for respondent.



Judgment, Supreme Court, Bronx County (Efrain Alvarado, J.), rendered April 25, 2019, as amended April 26 and 29, 2019, convicting defendant, after a jury trial, of sexual abuse in the first degree (two counts), forcible touching and endangering the welfare of a child, and sentencing him, as a second felony offender, to an aggregate term of four years, unanimously affirmed.
The verdict was not against the weight of the evidence (see People v Danielson, 9 NY3d 342, 348-349 [2007]). There is no basis for disturbing the jury's determinations concerning identification and credibility. The victim and her brother unequivocally and reliably testified that the crime was committed by defendant, and not by any of the younger men who had visited the apartment earlier, but had already departed. The People's expert adequately explained the inconclusive DNA evidence.
We perceive no basis for reducing the sentence, including the six-year term of postrelease supervision.
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: January 17, 2023








